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                       IN '
                          IQIE U NITED STATES DISTRICT COURT
                      FOR T1V SOUTHERN DISTRICT OF FLOU A
                             W EST PM M BEACH DIW SION

                             CaseNo.23-80015-C1W CANNON

     JOHN ANTHONY CASTRO
     12 Park Place,M ansfield,TX 76063
     202-594-4344                                     FILED BY (.*.%           D,
                                                     !                           G,
           Plaintiff,
                                                           1AN 18 2823
                                                           ANGEL
                                                          CL ERK A E. NO5LE
                                                          s-     U S DIS'
                                                                        EC'E
     DONM D J.TRIJI  MP                                     o-oiréA.-ek.es.     .

     l100 S.Ocean Blvd,Palm Beach,FL 33480
          Defendant.

             FIR ST AG NDED VERIFW D COM PLm       T FOR DECLm       TORY
                                 AND G JIJNCTM   RELK F
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       FIRST AG NDED VERTFIED COM PLm               T FOR DECLAM TORY AND

                                   G JIJN CTIVE RELW F

    To THEH ONORABLE COURT:

          Plainti/ JOHNM 'ITIONYCASTRO,appearingrrose,filesthisFirstAmendedVerifed
    ComplaintforDeclaratory and InjunctiveReliefagainstDefendantDonaldJolm Tnlmpand
    allegesasfollows:

                                  1.   CLAIM FOR RELIEF

                     SHORT & PLM N STATEM ENT SHOW ING JURISDICTION

                 Becausethiscause ofaction arisesunder Section 3 ofthe 14th Amendm entto

    theU.S.Constimtion,thisCourthassubjectmatterjurisdictionoverthisactionpttrsuantto28
    U.S.C.j 1331.
                                          PARTR S

          2.     Plaintiff Jolm Anthony Cmstro is a U.S.citizen and Republican prim ary

    presidentialcandidate (Candidate FEC ID Number P40007320)forthe 2024 Presidential
    Election whocurrentlyresidesat12Park Placein M ansfield,Texas.

           3.    D efendant Donald Jolm Trump is a U .S.citizen and Republican primary

    presidentialcandidate (Candidate FEC ID NumberP80001571)forthe 2024 Presidential
    Election who currently residesat1100 South Ocean Boulevard in W estPalm Beach,Florida.

                                           VENUE

           4.    Because Defendant resides in this district,venue is proper in this district

    pursuantto28U.S.C.j1391(b)(1).
                SHORT & PLAIN STATEM ENT SHOW ING ENTITLEM ENT TO RELIEF

           5.     Section 3ofthel4thAmendm entisself-executing and createsanim pliedcause
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    ofaction fora fellow candidateto obtain reliefforapoliticalcompetitive injury by
    challenging another candidate's constitutional eligibility on the grounds that they

    engaged in orprovided tçaid orcom fort''to an insurrection.

           6.     OnJanuary 6,2021,aûerwitnessing alargeg'
                                                         roup ofTrum p supporters

    violently attacldng the United StatesCapitolto preventthe lawfulcertificaéon ofthe

    2020 election resultsw ith the goalofllnlawfully compelling Donald Jolm Tnlmp's

    inauguration on January 20, 2021 (hereafter referred to as the ttlanuary 6111
    lnsurrection''),DefendantDonald JohnTrumpstatedon livetelevision,tiweloveyou,
    you're very special''to the insurrectionists. DefendantDonald Jolm Tnlm p provided

    theinsurrectionistsw1111comfortin theform ofwordsofsym pathy.

           7.     On January 29,2022,DefendantDonald Jolm Tnlmp publicly stated,

    'GlfIrun and iflwin,we willtreatthose people from January 6 fàirly.W e willtreat

    them fairly.And ifitrequirespardons,wewillgivethem pardons.''DefendantDonald

    Jolm Trump prom isedtheinsurrectionistsaid in thefonn ofexecutivepardonsfortheir

'criminalattem ptto llnlawfully overturn the2020 election results.

           8.     Based on thesetwo instancesandotheractsofratitication oftheactsof

    and sympathy w 1t11theconvicted crim inalsofthe January 6th Ins= ection,D efendant

    DonaldJolm Trum pprovided Gtaidorcomfolf'toan insurrection inviolation ofSection

    3 ofthe 14th Am endm entto the U .S.Constitution and is,therefore,constimtionally

.   ineligibleto pttrsueorhold any publicoftk ein theUnited States.
l
'          9.     Because Plaintiff is a fellow FEc-registered Republican prim ary

    candidate,Plainéffwillstlfreraninjurythatmayberedressedbythefederaljudiciary
    withdeclaratoryand/orinjunctiverelief
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                                      DEM AND FoR RELIEF

                  Pursuantto 28U.S.C.j 2201(a),PlaintiffrequeststhisCourtto ''declarethe
    rightsand otherlegalrelationsof'PlaintiffJphn Anthony Casko with regard to ilisstanding

    to bring a suitchallenging Defendant'sconstio tionaleligibility to ptlrsue public office and

    appearon stateballotsforthenomination orelection tothePresidency oftheUnited States.

           11. Pmsuantto28U.S.C.j2201(a),PlaintiffrequeststhisCourtiûdeclaretherights
    and otherlegalrelations of'DefendantDonald John Trump with regard to hisconstitutional

    ineligibilitytopursuepublicoftk eandappearon stateballotsforthenom ination fororelection

    to the Presidency oftheUnited Statesdueto hisprovision ofaid orcom fortto theJanuary 6

    insurrectionists.

           12.    lfand only ifthisCourtfindsD efendantDonald John Trum p constimtionally

    ineligible to pursueorhold public oftice,Plaintiffcontingently requeststllisCourtenjoin
    DefendantDonald John Tnlmp from subm itting an application to appearon the ballotin any

    U.S.state sincethatwouldbe an unconstitutionalactby DefendantDonald John Tnlm p.

                  Altem atively,PlaintiF requestsany otherreliefhem ay beentitled to atlaw or

    equity.

                 I1.    M ORE DEFIM TM         STATEG NTS AND ANALYSES

           14.    The f'
                       rnm ers ofSection 3 ofthe 14th Amendm entintended the constitutional

    provision to beboth self-executing and to provide a cause ofaction. M ore specitk ally,the

    Union soughtto plnish theinsurrectionary Confederacy by m aldngtheirabilitytohold public

    ox ce unconstitutional. The frnmersdid thisw ith the specitk intentofrem oving the m ore

    politically popularinsurrectionistsfrom theballotsincethey violated theiroathsofallegiance

    totheU.S.Constitution andtheuseofpeacefulpoliticalmechanism sto non-violently resolve
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 disputes. Based upon thisnovelinterpretation ofSection 3 ofthe 14th Am endment,

 Plaintiffbrings this cause ofaction againstDefendantDonald J.Trum p to have the

 federaljudiciary make a declaration regarding everyone's legalrights and stams,
 including,biltnotlimited to a declaration regardingthe constimionality ofDonald.J.

 Trump'spresidentialcandidacy,toenjoinanyfurtherflmdraisingorcampaigning,and
 to ensttretheprevention ofhisinauguration intheeventtheRepublicanParty istmable

 to preventhisnom ination and subsequentelection.

                           PLM NTIFF'S STANDING TO BRING SUIT

         15.    To establish sfnnding,a plaintiF m ust show that it has suffered an

 Nnjuryinfactcausedbythechallenged conductandredressablethroughreliefsought
 from the coult''l

         16.    The U.S. Courtof Appeals for the D.C. Circuit has explained that

 political competitor standing is nkin to econom ic competitor standing, whereby a

 plaintiff hms sunding to challenge a governm entaction that benefits a plaintiœ s

 com petitorto thedetrim entoftheplaintiff2 Politicalcompetitorstanding, however,is

 onlyavailabletoplaintiffswhocanshow thattheyçtpersonally competel)inthesame
 arenaw1t11thesameparty towhom thegovernm enthasbestowedtheassertedly illegal

 benefit''3 TheD .C.Circuithasalso heldthatifaplaintiffcan show he isa ççdirectand

 cuzrent com petitor,''then com petitor standing m ust be recognized as a matter of


 1Shaysv.FEC,414F.3d76,83(D.C.Cir.2005)(citaionomitted).
 2SeeShaysv.FEC,414F.3d76,87O .C.Cir.2005).
 3Gottliebv.FEC,143F.3d618,621(D.C.Cir.1998)(internalquotadonmarlcsomittedl;seealsoFulaniv.
 Brady,935F.2d1324,1327-28O .C.Cir.1991)(holdingthatpresidentialcandidatedidnothaveRcompetitor
 stnnding''tochallengeCPD'Stax-exemptstatuswherethecandidatewasnoteli/blefortu-exemptstatusl;
 Hassanv.FEC,893F.Supp.2d248,255(D.      D.C.2012),ayd,No.12-5335,2013W L 1164506(D.C.Cir.
 M ar.11,2013)Cplaintiffcannotshow thathepersonallycompetesinthesamearenawithcandidateswho
 receivefundingundertheFundActbecausehehasnotshown thatheisorimminentlywillbe eligibleforthat
 ftmding.'').
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    established case law.4 Courtshave recognized thata Gçcandidate- as opposed to individual

    voters and political action groups- would theoretically have standing based upon a

    Kcompetitiveinjury'''ifhecouldshow thatlthepersonallycompetesinthesamearenawiththe
    ssm e party.>,5

            17.       Jolm Anthony Cmslo registered as a candidate with the Federal Election

    Commission and is directly and currently competing against Donald J. Trum p for the

    Republican nom ination forthePresidency oftheUnited States.Assuch,Plaintiffmeetsa11of

    the criteriaforstanding.

            18. A fellow primary candidate,whoseinjury would becompetitive injury in the
    form of a diminution ofvotesand/or ftmclraising,has federaljudicial standing to sue a
    candidateheorshebelievesisineligibletohold office.6

            19. Plaintiff will suffer a concrete competitive injury if the constitutionally
    ineligible Donald J.Trum p campaign comm ittee is perm itted to raise funds,which puts

    Plaintiffataftm& aising disadvantage.; Ifthefederaljudiciary permitsDonald J.Trump's
    cam paigning,M r.Tnlm p willbetheRepublican Party'spresumptivenom ineeandcom pletely

    dom inate atfnndraising. Thiswillsiphon offtensifnothundredsofm illionsofdollrsto a

    constitutionally ineligible candidate in violation ofSection 3 ofthe 14th Am endmentto the

    U.S.Constitution.Thereisnoquestionthispoliticalcompetitorinjuryistraceabletotheactual
    competitor,D onald J.Trum p.

           20.        PlaintiffundersGndsthatthe competitorstanding doctrinerecognizesttparties



    4New WorldRadio,lhc.v.FCC,294F.3d 164,170(.
                                              D.C.Cir.2002)
    5Hassan v.FEC, 893F.Supp.2d248,255n.6(D.D.C.2012)(emphasesadded)(quotingGotdieb,143F.3dat
    621)
    6SeeFulaniv.League,882F.2d621(2dCir.1989).
    7SeeM cconnellv.FEC,540U.S.93,107,overruled onothergm llpti&by Citizens United v.FEC, 558U.S.
    310(20104.
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  suflbr constitutional injury in fact when agencies... otherwise allow increced
  com petition.''S Tn thiscase,the seemingly m ostappropriate time to bring suitwould
                  ,




  bewhen PlaintiffCastro andDefendantTnzmpbothfilepapenvork inNew Hampshire,

  Pennsylvania,Oeorgia,and Arizonato appearon theballotasPresidentialcandidates,

  but this cause of action is primarily for declaratory relief to relolve the issue of

  constitutionaleligibilitypdortosaidactionforthesakeofjudicialex ciencywhenthe
  time arises to preventthe issue âom kansfonning into a non-justiciable political
  question given therapid tim efram eoftheprim ary election sea on. In accordance with

  the D .C.Circuit's ruling in M endoza v.Perez,Plaintiffwillsuffer a constitutional

  injuryin factsum cientto coeerArticle1I1standing.g
         21.    W hen Section 3ofthe14thAmendm entwasadopted,itwasspecifcally

  designed to ensure thatnon-insurrectionists did nothave to politically compete with

  the m ore popular pro-insurrectionist politicians in the South. lt was specifically

  designed to rem ove overwhelm ing popular pro-insurrectionists f'
                                                                  rom the ballot. A s

  such,PlaintiF isnotsimply withinthezoneofinterests;Plaintiffistheprecisetypeof

  person Section 3 ofthe 14th Am endmentsoughtto protect.

         22.    Although the U.S.Suprem e Courtarguably abolished the doctrine of

  prudentialstanding in Lexmark,10 Plaintiff satisfies prudent
                                                             ,
                                                              ia1standing in thathis

  injuryisparticularized andconcrete,hesatissesArticleIIIsGnding,andheiswithin
  thezoneofinterestssoughtto beprotectedby Section 3 ofthe 14th Apendmentto the




  8SeeMendozav.Pcrez,754F.3d 1002,1011(D.C.Cir.2014)(citingtoLa.Ahcra andPtzwerAuth.v.FFRC,
  141F.3d364,367O .C.Cir.1998),   *Sherleyv.Sebelius,610F.3d69,72-73(D.C.Cir.2010)).
  gu endoza v.Perez, 754F.3d1002(D.C.Cir.2014)
  10Lexmark1nt'l,lhc.v.StaticControlComponents,Inc.,572U.S.1l8(2014)
                                               6
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     U s c onstitution.11

            23.    AllowingDonaldJ.Trum pto continuebeingperceived asan eligiblecandidate

     in violation ofSection 3 ofthe 14th Am endm entofthe United States Constitution through

    judicialinaction constimtesllnlawf'
                                      ulinactionthatallowsacompetitiveinjurytoPlaint'
                                                                                    iF and
     bestow sacom petitiveadvantagein thesam eRepublicanprimary in which Plaintiffcompetes

     w ithD onald J.TnIm p.12

                                R ELEVANT LAw & LEGAL A NALYSIS

            24.    D onald J.Trum p isadeclared candidatefortheRepublican nom ination forthe

     Presidency oftheUnited Statesforthe2024 election season.

            25.    ArticleII,Section 1oftheUnited StatesConstitution statesthatanyperson who

     enterstheOfsceofthePresidentoftheUnited StatesofAmerica shallàkethefollowingOath

     orAfflrmation:''Ido solemnly swear(oraffirmlthat1willfaithfully executetheOffice of
     PresidentoftheU nited States,and willto thebestofm y ability,preserve,protectand defend

     the Constitution oftheUnited Sutes.''

            26.    Sincethefounding ofolzrnation,those who assume civilorm ilitary positions

     underfederalorstate1aw arerequired to takean oath and thereby state thatthey willdefend

     the Constimtion oftheUnited Statesagainsta1lenemies,foreign and domestic.

            27.    Taldng thesideofaforeign enemy iscovered by theTreason ClauseinArticle

     111,Section3,Clause 1oftheUnited SVtesConstitution.Itsutes:Gf-
                                                                  l-reason againsttheUnited

     States,shallconsistonly in levying W aragainstthem ,orin ndhering totheirEnemies,giving

     them Aid and Com fort.''




     11PublicCitizenv.FA'C,788F.3d312(DC Cir.2015).
     12SeeCitizensforResp.(jnEthicsinWashingtonv.Trump,939F.3d131,143(2dCir.2019).
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            28. 'Fhe Anti-lnsurrection Qualification Clause in Section 3 ofthe 14th
     Am endmentof the United States Constitution covers taking the side of a domestic

     enem y.

                               Anti-lnsurrection Qualilkation Clause
            29.      Section 3 ofthe 14th Am endm entofthe United StatesConstitution is

     bestdescribedmstheAnti-lnsurrectionQualificationClause.ltestablishesthat,inorder
     tobeeligibleto holdany oo cein theUnited States,apersonm usthaveneverviolated

     an Oath of Offce,which always includes a pledge to support the United States

     Constitution.

             30.     The Anti-lnsurrection Qualification Clause in Section 3 ofthe 14th
     AmendmentoftheUnitedStatesConstitutionstatesthatt&rnlopersonshallbeaSenator
 :
     orRepresentative in Conr ess,orelectorofPresidentand VicePresident,orhold any

     ox ce,civilor m ilitary, under the United States,or under any State,who,having

     previouslytakenanoath,asam emberofCongress,orasanofficeroftheUnitedStates,

     orasamemberofany Statelegislature,orasan execufve orjuicialox cerofany
 ,   State, to support the Constimtion of the United States, shall have engaged in

     insurrection orrebellion againstthe ssme,or given aid or comfortto the enemies
'
,    thereof But Congress m ay by a vote of two-tllirds of each House, rem ove such

     disability.''

                                A m endm entX W ,Section 3,C lause 1

             31.     Clause 1 of Section 3 ofthe 14th Am endm ent of 1he United States

     Constituéon reads'
                      .GW o person shall...hold any office,civilorm ilitary,under the

     United States,orunderany State,who,having previously taken an oath...to support
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     the Constitution ofthe United States,shallhave engaged in insurrection orrebellion against

     thesnme,orgiven aid orcom fortto theenem iesthereof''

            32.    '
                   l'
                    he word GGengaged''for the purpose of Section 3 of the 14th Amendm ent

     Nm plies,and wmsintendedto imply,avoluntaryeffortto assistthelnsurrection...And further,

     the...actionmustspringfrom (aqwantofsympathywiththeinsurrectionarymovement''i3
            33. AstheU.S.SupremeCourthasarticulated,'çlwlithoutasVttltory definitionv
     (onemustqtum tothephrase'splainmeaning.''l4
            34.    M eniam-W ebster's Dictionary defnes an &linsurrection''to be ttan act or

     instnnce ofrevolting againstcivilauthority oran established government''An instlm ce is Ra

     step,stage,orsiolntion viewed aspartofa process orseriesofevents.''Pm icipation in the

     eady orlate stagesofan eventstillconstitute Gtan instance.'' Thiswould apply to the wife of

     United States Supreme CourtJustice Clarence Thomas,Virginia Thomas,requiring Justice

     Thomas'mandatory'
                     recusaltmder28U.S.C.û455,whichPlaintif assertsherein to preserve
     for appeal.

            35. Oftheterm lGrevolting,''M eniam-W ebstersaysRto renounce...subjecéon.''
     Renounce isto Klref-use to follow,obey,orrecognize.''Subjection is being Gçplaced under
     authority.''Thus,an ins= ection include a11stages ofthe eventwherein atatIeastonestage

     therewasarefusalto recognizetheauthority ofan established govem m entalbody,suchasthe

     United StatesSenate and its ceremonialreading ofthe certified election resultsand engaging

     in violence to underm ine b0th thatprocess and the U nited StatesConstitm ion.

            36.     Donald J.Trump sllmmoned the m ob to otlr nation's Capitol,organized and



     13SeeUS.v.Powell,65N.C.709(C.C.D.N.C.1871).
     14SeeTanzinv.Tanvir,141S.Ct.486,491(2020)(thereaqerreferencingMerriam-W ebster'sCollegiate
     Didionaryfortheplainmeaningofaterm).
                                                    9
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  % sembled the mob,allowed weaponsin the crowd by ordering security to 1etthem

  pass,radicalized the m ob with incendiary rhetoric,ordered them to march to the

  Capitol,refused to m ake public statementsto denounce the violence and calloffthe

  m ob for187m inutes,andwhenitbecame clearthatthem ob had failed to useviolence

  to prevent the certification of the election results,then and only then,(lid former

  PresidentDonald J.Tnlmp orderthe mob to go hom e,butnotbefore saying Kçwe love

  you''and calling the violentm ob ttvery special''afterthey had violently attacked the

  United States Capitol. A11 of these instances were partof the overall January 6

  Insurrection in whichD onald J.Trum p wmsdirectly and irrefutably involved.

                 Clause 1 of Section 3 of the 14th Am endm ent to the United States

  Constitution declares that anyone deem ed to have engaged in ins= ection are

  çtenem ies.''However,lessfocusisgiventothefactthatSection 3 sim ilarly disqualifies

  thosewho havegiven Raid orcom fort''to insunectionists.

         38.      tW idorcomfortmaybegiventoan enem ybywordsofencouragem ent,

  ortheexpression ofan opinion,from one occupyingan intluentialposition.''ls

          39.     There is a distinction between dom estic iGaid or com fort'' to

  insurrectionists and foreign 'Gaid alid com fort''to invaders.This was highlighted by

  PresidentAndrew Johnson'scommentsto aN ew Hampshiredelegaéon thatttrreason

  isacrimeand mustbeptmishedasacrim e...Itmustnotbeexcusedasan unsuccessful

  rebellion.''l6 Itwaslaterreasoned thatifGGinsurrection and levying warwasaccepted

  as treason,hundreds pfthousands ofm en,m ostof them youths,were guilty ofthe




  15McKeev.lrovng,2Bart.El.Cas.422(1860.
  16SeeJ.G.Randall,TheCivilWartmtfsectln-
                                        ç/rlfcfftln 707(1937)(firstomissioninoriginal).
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     ogense thatcarried a mandatory sentenceof-death by hanging.--l; --T0 the congress, the o1d

     law wasunworkable forthe (CivilW arl...(thus,on1July 31,1861,Congresspassed a1aw
     which provided that anyone fotmd guilty of conspiracy to overthrow the U nited States

     Covernm entOfto intedereWith theOperation Ofitslawsshallbe guilty ofahigh crime.''18

            40.    Cvhe offenses forwhich exclusion from om ce is denounced are notm erely

     engaging illinso edion...blltthe givillg OfZd OfCom fox to theirenem ies.''19 Jn thatcase,

     X dge Chase,Whom him selfw% balancing hisneed forimpartiality with hisdesire to pursue

     thePresidency,insinuated thatthe inclusion ofthe ûtaid orcomfort''disqualifierin Section 3

     ofthe 14th Amendmentappliedonly in the contextofaforeign invasion orwar.JudgeChase

     wasan abolitionistbutstillan smbitiousand c piring politician who considered cnmpaigning

     forthePresidencyanddidnotwanttoupsettheSouth bydeclaringthatthereferencein Section

     3 to Renemies''applied to the insurrectionists and rebels thatfought forthe Confederacy.

     Giving Raid and com fort''to foreign enemieswas already covered by the Treason Clause in

     Ai cle 111,Section 3,Clause 1 of the United States Constitution.Secéon 3 of fNe 14th

     Am endm ent,being apost-civilwaram endm ent,wmsreferring solelyto domesticenem iesthat

     engagedininsurrection orrebellionagainsttheUnited Statesandhadpreviously given an oath

     to supportthe Constitution;thereby only targeting M gher-levelofficialsthatare required to

     takeoaths.

            41.    This is supported by the factthatthe Rfinalversion ofSection 3 reflected a

     refmementofthe radicals'philosophy offormalequality.Opposition to the broaderHouse



     17SeeJonathan Tmman Donis,Pardontwda
                                        dplnes'tyUnderZ/nctplnandJohnson-TheRestorationofthe
     ConfederatestoTheirDg/l/.
                             çandprivileges1861-1898,at4(1953).
     IBSeeC.EllenConnally,TheUseoftheFourteenthAmendmentbySalmonP.ChaseintheTrialofleyerson
     Davis,42AkronL.Rev.1165,1165(2009).
     19InreGrr n,11F.Cas.7(C.C.  D.Va.1869).
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      proposalarosein partfrom the widespread view thatm any Confederatesoldiers,even

      ifnotconscripted,hadlittlerealchoicebuttojointheSouthem cause.1.nthatlight,the
      finalversion of Section 3 was not less punitive so much as itwas m ore targeted.

      W hereas the H ouse version prom ised to affectthe rank and sle,the Senate version

      wouldreachonlytheseniorleadership.M oreover,theSenateversionwas,in important

      ways,harsherthan theHouseversion.TheHousem easure wotlld have sunsetin 1870

      and applied only to federalelections.By contrast,the fmalversion IofSection 3)
      permanentlyrenderedvirtuallytheentirepoliticalleadership oftheSouthineligiblefor

      om ce,both state and federal.The fnalversion of Section 3 thusrefected a nuanced
 '
      view: as compared with felons, Confederate oo cials were more deserving of
 l
      Plmishm entand Southel'
                            n footsoldierswerelessso.''20

             42.    Every federal, state,and local public officialthat offered words of

      encotlragement,show of sym pathy,or expression of supportfor or defense of,the

      January6Ins= ection must,pm suanttoSection3 ofthe 14th AmendmenttotheUrlited
 :
 1States Constituéon,be declared ineligible to hold any civilorm ilitary office in the
 ,
 l

 p'
 5UnitedStatesatthefederal,state,orlocallevel.
 ;
 r           43.    D onald J.Trum p isnottheonly publicoffcialineligibleto holdpublic
 '
 ,    oo cetmderSection3 ofthe14thAmendm ent.Soon-to-beDefendantswhosePlaintiffs
 i
 $willbeprimarychallengerswithjudicialstandingtosuewillinclude,butmostcertainly
 k
 :
 iw illnotbe lim ited to, CongressmembersM arjorieTaylorGreene(R-Ga.),M oBrooks
 l
 lt
 :(R-Ala.),LaurenBoebert(R-Co1o.),LouieGohmert(R-Texas),PaulGosar(lGAriz.),


      20SeeRichardM.Re,ChristopherM.Re,Votingand Vice:CriminalDiselkanchisementJn#the
      ReconstructionAmendments,121YaleL.J.1584,1622-23(2012),
                                                            .alsoseeEricFoner,Reconstruction:
      America'sUnpnishedRevolution1863-1877,at259(1988).
                                                   12
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      andAndyBiggs(R-Ariz.)forgivingGlaidorcomfort''toinsurrectionists.
                                Amendm entXIV,Section 3,Clause2

             44.    Clause2 ofSection 3 ofthe 14th Amendm enttotheUnited StatesConstim tion

      reads:Gtcongress m ay,by a vote of two-third of each H ouse, remove such disability.''

      (Emphasisadded).
             45.    Plaintiff emphmsizes the Constimtion's use of the term tçeach'' since there

      appearstobewidespread misconception thatonlytheU .S.H ouseofRepresentativesisneeded

      toremovethedisqualifying disability,which stems9om the 1868caseofButler.ll Therefore,

      if290m embersoftheU.S.HouseofRepresentativesand 67 membersoftheU.S.Senatevote

      to rem ove the disqualifying disability,a person otherwise ineligible to hold ofrice under

      Section 3 of the 14th Am endm ent could hold oftice.ln today's political climate,this is

      impossible.

             46.    ltisalso criticalto anticipatorily highlightthata Presidentialpardon doesnot

      rem ovethis disability since the United Sutes Constitution providesthatonly Congressm ay

      liftthe disability.Tllis is contrary to an old,outdated,and clearly bimsed Attom ey General

      Opinion from Southern Coe ederate Augustus Garland that attempted to lim itits scope;it

      inexplicably ignored the tenn tieach''and suggested a presidentialpardon could rem ove the

      qualifcation disability notwithstandingtheConstitution'sclearand exclusivereservation and
      delegation ofthatpowersolely to Congress.zz

                                      Scope ofA m endm entXIV

             47.    The disqualitk ation applies to both civil and m ilitary positions at both the

      federalandstatelevel,whichhasbeenjudiciallydeterminedtoevenincludealocalconstable

      21SeeButler,2Bart.E1.Cas.461(1868).
      1
      UlSeefzrwfon'
                  .5.Case,18Op.Atty.Gen.149(1885).
                                                     13
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     Position.23

             48     tThere can be no oftke which is noteither legislative.judicial,or
     executive(coveredbySection3ofthe14thAmendmentbecausel...itembracesevery
     oo ce...(andlitwaspassed to punish those high in authority...fortheirbad faith
     lowardthegovernmenttheyhadsworn (intheiroathofofficeltosuppolt''z4
             49.    tK-fhe am endm entapplies to a11the states ofthe Union,to a11oftk es

     under the United States or under any state,and to allpersons in the category of

     prohibition,and fbr alltim e present and future.,,25 Itis a lifetime ban from public

     ox ce.

              50.   Asm entioned before,Section 3 ofthe 14th Amendm entism erely an
 I
 p
 '
 lAnti-lnsurrection Qualitkation Clause.ltwasnotintended to be a punishmentfor
 :
 k
 '
     someonewho engaged in an ins= ection orgaveaid orcomfortto insuzrectionistsany

 :m ore than the NaturalBorn Citizen qualitk ation clause is plnitive.Ifyou are nota
 1
 1naturalborn citizen oftheUnited States,you cannotholdthe OfficeofthePresidency.
 l
 'Ifyouviolatedyouroathofofficebyengaginginanins= ection, you cannotholdthe
 t
     OffceofthePresidency.It'samerequalification forthe office.

                                 Enforcem entofA m endm entX IV

              51.   ln an attemptto neutralize Section 3 ofthe 14th Amendm ent,som e

     comm entatorsdating asfarback as1868developedthelegaltheory thatthisprovision

     oftheUnited StatesConstitution wastm enforceablewithoutenabling legislation.Such

     a suggestion islegally baseless,patently frivolous,andwholly withoutmerit.



     ?-
      3SeeUS.v.Powell,65N.C.709(C.C.D.
                                     N.C.1871).
     241d.
     25InreGrtmn,11F.Cas.7(C.C.
                              D.Va.1869).
                                                 14
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            52.    In fact,itwasthePresidentofthe Confederacy,Jeflkrson Davis,who,in 1868,

     contended thatSection 3wl,&self-executingand,therefore,barredhiscrim inaltrialfortreason.

     SeeGerardN Magliocca,AmnestyandsectionThreeoftheFourteenthAmendment,36Const.
     Comment.87(2021).M oreover,itwasJudgeChasewhoagreedin JeffersonDavis'criminal
     trialthat Section 3 was self-executing'
                                           ,thereby implicating the prohibition againstD ouble

     Jeopardy.z6 shortlythereafter, however,JusticeChasereversed hisposition and declaredthat

     Section 3 wasnotself-executing when a black crim inaldefendnntchallenged his conviction

     on thegrotmdsthatthejudge presiding overhistrialfoughtfortheConfederacy and was,
     therefore, ineligible to preside over his trialrendedng his guilty verdict nulland void.27

     Following theseH econcilablerulingsfrom aclearly bimsedJusticeChasewho could notmake

     up hism ind,Congress decided to acton its own by enacting Section 3 enforcem entstamtes

     and,shortly thereafter,federalprosecutorsbegan blinging actionsto oustineligibleofficials,
     includinghalfoftheTennessee Suprem eCourt.28 Congress'enactm entoflegislation wasnot

     an ndmission that Section 3 was notself-executing;itwasto avoid the llm acy of a clearly

     biased,conflicted,and politically active ChiefJusticethatcould notperform thefllnctionsof

     hisoftk ein aneutral,intellectual,fair,and im partialm anner.

            53.    In 1871,Am osPowellwasindicted,via an enabling sttutem aking ita crime

     to knowingly violate Section 3 ofthe 14th Amendm ent,ççforaccepting the oG ce ofsheriff

     whendisqualifiedfrom holdingoftk ebythe14thAmendment...landthe)indictmentcharged
     thatthe defendantknowingly accepted om ce underthe stte ofN orth Carolina,to which he



     26SeeCaseofDavis,7F.Cas.63a90,92-94,(C.C.   D .Va.1867)@ o.3,621a)(describingDavis'argumentand
     theGovernment'sresponsel;1d.atl02(notingtheChiefJustice'sview).
     27In reGrifpn,11F.Cas.7(C.
             .                  C.D.Va.1869)@ 0.5,815).
     28SeeActofMay 31,1870(FirstKuKluxKlanAct),ch.114,j14,16Stat.140,143,     'id.at915(imposing
     criminalpenaltiesforknowingSectionThreevioladonsl;Sam D.ElliotqW hentheUnitedStatesAttorneySued
     toRemoveHalftheTenneggeeSupremeCoutt '   rheQuoW arrantoCasesof1870,49TennB.J.20(2013).
                                                   15
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  was ineligiblç underthe provisionsofthe 3d section ofthe 14th Amendm entnzg In

  otherwords,to attach crim inalpenalties,enabling legislation is absolutely required

   sinceSection 3 ofthe 14th Am endmentm akesnoreferenceto crim inalpenalties.

          54. Congresshasjtlrisdiction to expelorexcludeitsown membersthatit
   detennineshaveviolated Section 3 ofthe 14th Amendment3o However, itis unclear

  whetherCongresscan unilaterallyim posesaiddisability ontheExecutiveBranch since

  thatcouldbedeem ed an encroachm enton aseparatebranch ofthefederalgovernment.

  Nevertheless, a Congressional fnding of liability would certainly aid the federal

  judiciary'sfact-fndingmission.
          55.    Historically,the neutralfinder offactand azbiterof1aw hasbeen the

   federaljudiciary.Consistentw1111ourprinciplesoffederalism andseparationofpowers,
   itismorelikelythatthefederaljudicimy and,inpartictllar,theUnited StatesSupreme
   Courtwould be the only authority thatthe drafters of Section 3 could have possibly

   envisioned asbeingthe m ostcompetentand legitimatebody to determinewhetheran

   individualisineligibleundertheAnti-lnsurrectionQualitkationClause.


                                               Respectfully submitted


   January 19,2023                             By
                                                     JOHN ANTHON Y CASTRO
                                                     12 Park Place
                                                     M ansfield,'
                                                                I'X 76063
                                                      Tel.(202)594-4344
                                                      J.castroe ohncastro.com
                                                      PLM NTIFF PR0 SE

   29See (1,j'
             .v.Powell,65N.C. 709(C.
                                   C.D.
                                      N .C.1871).
   30SeePowellv.M ccormack,395U.S.486(1969).
                                                16
'




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                                              VERIFICATION

         1,JohnAnthony Castro,declare asfollows:

            1. lam theplaintiffin thepresentcase,aU .S.citizen,and an FEc-registered

                 Republicanprimarypresidentialcandidate(CandidateFEC ID NumberP40007320)
                 forthe2024 PresidentialElection.

            J. Iintend to fully utilize a11ofm y sldllsand G owledgetopreventDonald J.Tnlmp
            '
                 from being elected to orholding any publicofficein theU.S.

            J. Ihavepersonalfirst-hand knowledgeofthematterssetforth in thisComplaint,

     '           including wim essing Donald J.Trump providing wordsofcom fortto the
    ?
    i
    1            insuaectiorlistson livetelevision,and,ifcalled upon to testify,lwould competently
    1      .
    1
    1            testify asto the mattersstated herein.
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    .       4.   Plzrsuantto28U.S.C.j 1746,1verifyunderpenaltyofperjurythattheentirety ofthe
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                 foregoingFirstAmendedComplaintistrueandcorrect.
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         Executed onJanuary 19,2023.
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    â                                                          ohnAnthony Castro
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